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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In Re:                                                                Case No: 19-13103-cgm

                                                                       Chapter 13

 Maritza Acosta Rosario

                                    Debtor.
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                         AFFIRMATION IN OBJECTION TO FEE APPLICATION

         Dennis Jose, Esq., an attorney associated with the office of Krista Preuss, the standing Chapter 13

Trustee (the “Trustee”) submits the following affirmation.

         1. The Trustee’s office, in furtherance of its gatekeeping functions, hereby interposes objection

to the Debtor’s counsel’s application for compensation docketed as Docket No. 104 (the “Application”).

                         I. Counsel is seeking total compensation of $13,300.00 which largely appears to
                            be the result of hourly billing for case in chief activities.

         2. The above-captioned Debtor commenced this case with Norma Ortiz, Esq., as Counsel

(henceforth “Counsel”). The totality of the fee picture thus far from the Application is as follows:

                   Compensation Sought:                   $13,300.00

                   Retainer Paid:                         $5,000.00

                   Remainder:                             $8,836.00

                   Expenses:                              $536.00 (including payment to Per Diem Counsel)


                   II.      The Rule 2016(b) disclosure does not disclose an hourly fee arrangement and
                            sets forth that the Debtor will be charged $5,000.00 as a “FLAT FEE,” and
                            additionally, the retainer agreement is not attached to the Application making
                            the Application facially defective.

         3.   The Rule 2016(b) disclosure filed in this case states that for legal services Counsel has agreed

to accept $5,000.00 as a “FLAT FEE” which was all paid upfront. See Docket No. 8, pg. 60 of 62. The

2016(b) disclosure appears to include a review of the Debtor’s financial situation, preparation and filing of

the bankruptcy petition, representation at the confirmation hearings and meeting of creditors, and other

typical case in chief functions. See Id.




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        4. The confusion arises when one compares the Application, the time records attached to it, and

the 2016(b) disclosure. See Docket No. 104. The Debtor is being charged hourly for functions such as

creating physical and digital folders (09/26/19), consultation/intake (09/26/19), document upload and filing

(09/27/19) and a whole host of activities that would presumably be part of the case-in-chief “FLAT FEE”.

See Application, Time Records. To add to the confusion, the retainer agreement is not attached to the

Application.   There is clearly a disconnect between the “FLAT FEE” arrangement as disclosed on the

2016(b) disclosure and the hourly fees being charged for a whole host of case-in-chief activities in the

Application.

        5. Rule 2016(b) in turn relates to 11 U.S.C. Section 329 which mandates that:

            (a) Any attorney representing a debtor in a case under this title, or in connection with such a
            case, whether or not such attorney applies for compensation under this title, shall file with the
            court a statement of the compensation paid or agreed to be paid, if such payment or
            agreement was made after one year before the date of the filing of the petition, for services
            rendered or to be rendered in contemplation of or in connection with the case by such
            attorney, and the source of such compensation.
            (b) If such compensation exceeds the reasonable value of any such services, the court may
            cancel any such agreement, or order the return of any such payment, to the extent excessive,
            to—
            (1) the estate, if the property transferred—
                 (A) would have been property of the estate; or
                 (B) was to be paid by or on behalf of the debtor under a plan under chapter 11, 12, or 13
                 of this title; or
                 (2) the entity that made such payment.

                          11 U.S.C. Section 329 (a) (emphasis added)

        6. The Trustee submits that Counsel needs to explain the disconnect between the disclosure, and

the Application/Time Records. The Trustee further submits that the Application is facially defective in

that it does not attach the relevant retainer agreement.

                III.     The Code requires that the Court to examine the propriety of fee applications,
                         and the Trustee objects to the fee application in this instance as it improperly
                         mixes case in chief activities for which there appears to be a “FLAT FEE”
                         arrangement and others.

        7. Section 330(a)(3) of the Code requires the Court to examine the nature, extent and value of the

services and make a determination of the amount of “reasonable” compensation based on factors such as

(A) the time spent on such services; (B) the rate charged for such services; (C) whether the services were
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necessary for the administration of the case; (D) whether the services were performed within a reasonable

amount of time, and (E) whether the compensation is reasonable based on the customary compensation

charged by comparably skilled practitioners in non-bankruptcy cases. See generally In re Thorn, 192 B.R.

52 (Bankr. N.D.N.Y 1995).

        8.    This Court has seen a vast number of Chapter 13 cases. This Court — as Courts in other

jurisdictions have done — can comfortably find that fixed fees are the “prevailing or customary rate for

legal services performed in Chapter 13 cases.” See In re Contreras, 2019 Bankr. Lexis 1331, at 31 (Bankr.

S.D.TX 2019). In analyzing the reasonableness of fees in the overall umbrella of 11 U.S.C. 330, Judge

Alan Trust in the Eastern District of New York in In re Datta, (2009 Bankr. Lexis 1856, 2009 WL 1941974)

has referred to a seminal decision by the Seventh Circuit for guidance. The Seventh Circuit reasons that:

        “[R]easonable value is not…always the price that a willing debtor has agreed to pay a willing
        attorney in the marketplace, for by enacting sections 329 and 330 of the Code, Congress placed
        limits on the role the market will be permitted to play in setting professional fees in bankruptcy
        cases. Under section 329(b), the bankruptcy judge must determine the reasonable value of the
        services provided by the debtor's attorney after considering the surrounding facts and
        circumstances, including the customary fee in comparable cases. It is clear, then, that under
        section 329, an attorney… is not always entitled to the fee that the debtor has agreed to pay him.
        If that were true, Congress would essentially have performed a meaningless act when it
        authorized bankruptcy courts to review the fees of debtors' counsel and to take either of the
        authorized actions if the fees are found to be excessive.”
        In re Geraci 138 F. 3d 314 at 320 (7th Cir 1998).
        9.   An appropriate fee for a chapter 13 case in this Jurisdiction ranges from $3,000.00 to

$5,500.00 for the case-in-chief with loss mitigation and non-regular motion practice such as sections 522(f)

and 506 motions being carved out of the initial retainer. The Application in this case presents time records

that depict a mixture of case-in chief activities and non-case in chief activities, all of which are billed hourly.

Case in chief activities billed for include preparation of the petition, filing documents including schedules

and plans, uploading documents to the Trustee, charges for attending the 341 meeting, communications

with client, communications with appearance counsel, preparations for confirmation hearings, amending

trustee submissions, all being billed at an hourly rate. See Application, Time Records. The expenses

depicted even include payments to per diem counsel. See Id.           This is all in the context of the 2016(b)-

disclosure indicating a “FLAT FEE” for case-in-chief activities. The retainer agreement was not attached

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to the Application.    For the reasons set forth above, the Trustee respectfully requests that the Application

be denied.

                WHEREFORE, the Trustee requests that the Court deny the Application and/or provide

such other and further relief as it deems appropriate.

Date:   White Plains, New York                     Office of Krista Preuss, Standing Chapter 13 Trustee
        June 17, 2021
                                                    /s/ Dennis Jose
                                                   By: Dennis Jose, Esq.




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